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                         IN THE UNITED STATES DISTRICT COURT

                         FOR THE SOUTHERN DISTRICT OF TEXAS

                                    GALVESTON DIVISION

D.I. CHANCE, ET AL.                              §
                                                 §
VS.                                              §           CIVIL NO. G-97-282
                                                 §
PHILLIPS PETROLEUM COMPANY,                      §
ET AL.                                           §

                                      FINAL JUDGMENT

        Having accepted the Findings of the United States Magistrate Judge, acting as Master

pursuant to Rule 53 of the Federal Rules of Civil Procedure, the Court now issues this Final

Judgement.

        It is ORDERED and ADJUDGED that Plaintiff, John Damon, III, RECOVER of

Defendant, Phillips Petroleum Company, the sum of $2,501.00 with pre-judgment interest thereon

at the rate of 10% per annum as provided by Texas law and post-judgment interest at the rate of

3.33% until paid.

        It is further ORDERED and ADJUDGED that Plaintiff, Ludwell S. Taylor, RECOVER

of Defendant, Phillips Petroleum Company, the sum of $1,000.00 with pre-judgment interest thereon

at the rate of 10% per annum as provided by Texas law and post-judgment interest at the rate of

3.33% until paid.

        It is further ORDERED and ADJUDGED that Plaintiffs, Franky Joe LeMaster and Billie

Wayne LeMaster, RECOVER of Defendant, Phillips Petroleum Company, jointly and severally the

sum of $1.00 and RECOVER each, individually, the sum of $3,500.00, all with pre-judgment interest

thereon at the rate of 10% per annum as provided by Texas law and post-judgment interest at the rate
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of 3.33% until paid.

       It is further ORDERED and ADJUDGED that Plaintiffs, D.I. Chance, III, Arthur Chance,

Vanessa Tolbert, Joice Lance Tolbert, Wanda Lynn Arnold, Tony Weeks, Cynthia K. Parrish,

Leslie Herbert Parrish, Jr., David E. Wiggins, Andra Woodard Taylor, Freddie Louis Bonner,

Delores Helms, Elijah W. James, Matilda Ann James, Ludwell Z. Taylor, J. Chance take

nothing and that their causes of action be DISMISSED on the merits.

       It is further ORDERED and ADJUDGED that all costs SHALL be borne by the Party

incurring same.

       THIS IS A FINAL JUDGMENT.

       DONE at Galveston, Texas this 10th day of May, 2005.
